               Case 22-11068-KBO   Doc 29197-3     Filed 01/10/25   Page 1 of 2




                                       Exhibit B

                     Summary of Compensation by Project Category




4901-9686-9133 v.2
                 Case 22-11068-KBO            Doc 29197-3         Filed 01/10/25         Page 2 of 2




               SUMMARY OF COMPENSATION BY PROJECT CATEGORY 1
            (NOVEMBER 11, 2022 THROUGH AND INCLUDING OCTOBER 8, 2024)

                      Project Name                                                        Hours         Fee Amount
ASSET ANALYSIS AND RECOVERY                                                             11,069.20       $16,766,082.00
ASSET DISPOSITION                                                                       22,600.50       $30,025,860.00
ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS                                          776.50           $872,378.00
AVOIDANCE ACTION ANALYSIS                                                               23,207.70       $30,576,048.00
BUSINESS OPERATIONS                                                                      2,610.20        $3,605,684.50
CASE ADMINISTRATION                                                                      1,300.50        $2,488,677.00
CLAIMS ADMINISTRATION AND OBJECTIONS                                                     5,744.10        $7,653,023.50
CORPORATE GOVERNANCE AND BOARD MATTERS                                                   2,598.90        $3,956,793.50
EMPLOYEE BENEFITS AND PENSIONS                                                            836.20         $1,117,069.50
EMPLOYMENT AND FEE APPLICATIONS (S&C)                                                    2,285.10        $2,788,028.00
EMPLOYMENT AND FEE APPLICATIONS (OTHERS)                                                 1,170.60        $1,515,077.50
FINANCING AND CASH COLLATERAL                                                              30.30            $53,460.00
OTHER LITIGATION                                                                         8,861.50       $13,036,833.00
MEETINGS AND COMMUNICATIONS WITH CREDITORS                                               1,131.50        $2,079,070.50
NON-WORKING TRAVEL                                                                        430.00           $401,295.50
PLAN AND DISCLOSURE STATEMENT                                                           11,211.30       $15,831,540.00
RELIEF FROM STAY AND ADEQUATE PROTECTION                                                  734.70         $1,025,426.00
TAX                                                                                      6,149.80       $10,736,401.00
VALUATION                                                                                   2.60             $1,430.00
DISCOVERY                                                                               43,714.90       $33,895,912.50
HEARINGS                                                                                  457.40           $857,228.00
FIRST AND SECOND DAY MOTIONS                                                             1,969.20        $2,762,763.50
CLAIMS INVESTIGATION                                                                       95.20           $117,720.00
GENERAL INVESTIGATION                                                                   10,629.80       $15,501,428.00
SCHEDULES, SOFAS AND REPORTING                                                            315.00           $505,970.00
OTHER MOTIONS/APPLICATIONS                                                               3,476.50        $4,697,678.00
TIME ENTRY REVIEW                                                                        7,974.20                $0.00
BUDGETING                                                                                  24.70            $40,020.50
GENERAL REGULATORY                                                                       1,795.30        $2,808,431.50
BAHAMAS MATTERS                                                                          4,173.90        $6,005,523.00
FOREIGN DEBTOR MATTERS                                                                   7,580.70       $12,056,195.00
COORDINATION WITH FOREIGN PROCEDURES                                                      385.50           $737,778.00
COORDINATION IN OTHER BANKRUPTCIES                                                       3,508.10        $4,524,016.50
INVESTIGATIVE REPORTS                                                                    3,432.30        $4,977,578.50
CYBER ISSUES                                                                             1,385.30        $2,129,759.00
EXAMINER PREP                                                                             458.90           $821,518.50
TOTAL                                                                                  194,128.10      $236,969,698.00




  1
      The subject matter of certain time entries may be appropriate for more than one project category. In such
      instances, time entries generally have been included in the most appropriate category. Time entries do not
      appear in more than one category.



  4901-9686-9133 v.2
